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  EXHIBIT 6
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                           DECLARATION OF THOMAS BIFANO

       I, Thomas Bifano, declare as follows:

       1.       I am the Vice President and Associate Provost ad interim for Research at Boston

University              Boston            ) in Boston, Massachusetts. I have held this position

since July 1, 2024.

position that I have held since 2006. I have been a professor at Boston University since 1988.

       2.       As Vice President and Associate Provost ad interim for Research, I have personal

knowledge of the contents of this declaration or have knowledge of the matters based on my

review of information and records gathered by Boston University personnel, and I could testify

thereto.

       3.       Boston University receives significant annual funding from the National Science

Foundation      NSF     In Fiscal Year 2024 (July 1, 2023      June 30, 2024), Boston University

received $36.0 million in funding from NSF, with $25.7 million in direct costs and $10.3 million

in facilities and administrative         costs.

       4.       Boston University has applied     and intends to continue applying     for new NSF

funding awards, as well as for renewals and continuations of existing NSF awards.

       5.       On May 23, 2024, the U.S. Department of Health and Human Services

executed a Colleges and Universities Rate Agreement with Boston University that detailed, among

other things, the F&A

the federal government. NSF                                                          ve cost rates as

established with HHS. This Agreement is in effect through June 30, 2028.




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       6.       The funding Boston University receives from NSF supports critical and cutting-

edge research                                and often yields benefits for American businesses. For

example,                        NSF-funded research includes:

                        i. Research to create lab grown heart tissue that is functional, clinically

                           significant, and can be used in high-throughput platforms to screen for

                           drug cardiotoxicity without animal testing.

                       ii. Research on a brain-inspired algorithm to improve hearing aids and

                           speech recognition for individuals with autism, ADHD, and hearing

                           impairments.

                       iii. Research to integrate federated learning with power systems, leveraging

                           distributed data from numerous devices to better predict electricity

                           consumption and lower the cost of generation.

                       iv. Research on imitation learning systems that can improve the reliability

                           and safety of generative artificial intelligence algorithms using a

                           mathematically precise framework.

       7.       F&A costs are essential for supporting this research.                      F&A cost

rates to 15% would preclude carrying out the kinds of research projects described in paragraph 6

in the future and other similar critical research.

       8.       F&A cost reimbursement is critical to                                               it

supports the operation, maintenance,

infrastructure. F&A costs include costs for operation and maintenance of BU

utility costs (including heat and electricity); the costs of personnel in support of research in areas




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such as research compliance, sponsored programs, and post-award financial operations; costs for

computing infrastructure; and costs for libraries.

       9.        Facilities-related costs make up nearly 60% of        F&A cost rate, which includes

the costs of maintenance and repairs, utilities, and depreciation of the cost of acquisition,

construction, and improvement to BU buildings. The facilities available to researchers have a

direct impact on the research that can be done at Boston University.

       10.       Administrative costs make up approximately 40% of             F&A cost rate. These

administrative    costs   include   three   components:     departmental    administration,   general

administration, and sponsored programs administration.            These administrative costs include

information services, computing, and technology costs related to the support of research. They

also include staff who ensure compliance with a vast number of regulatory mandates from agencies

such as NSF. These mandates serve many important functions, including ensuring research

integrity; maintaining an effective biosafety program and properly managing research involving

biohazardous materials; managing and disposing of chemical and radioactive materials used in

research; preventing financial conflicts of interest; managing grant funds; complying with export

control laws; developing a research security program to address U.S. national security concerns;

and providing the high level of cybersecurity, data storage, and computing environments mandated

for regulated data.

       11.       Recovery of                         F&A costs is based on predetermined rates that

have been contractually negotiated with the federal government.

       12.       For Fiscal Year 2024 (and effective through Fiscal Year 2028), Boston University

has negotiated different F&A cost recovery rates for different types of grants, which vary from

26% to 63.5%. The treatment of F&A cost reimbursement under our sub-grants is also different




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than under our prime grants. For Fiscal Year                        F&A cost rate under all of its

NSF grants was 40.4%, reflecting the mix of different types of awards and activities.

        13.    The impact of a reduction in the F&A cost rate would be significant. Of the $36.0

million in NSF funding that Boston University received in Fiscal Year 2024 (July 1, 2023 through

June 30, 2024), approximately $25.7 million was allocated for direct costs, and approximately

$10.3 million for F&A costs. Similarly, in Fiscal Year 2025, Boston University expects to receive

approximately $24.0 million in NSF funding for direct costs, while BU expects to receive

approximately $9.8 million for F&A costs, based on the predetermined F&A cost rates. For the

245 proposals Boston University has already submitted to NSF, BU expects to receive $121.3

million for direct costs and $60.8 million for F&A costs if these proposals are ultimately awarded.

And over the next five years, BU anticipates receiving an average of $24.1 million from the NSF

for annual direct costs if these proposals are ultimately awarded. Based on the predetermined F&A

cost rate specified in our Colleges and Universities Rate Agreement with the federal government

as described in Paragraph 5, Boston University thus expects to receive approximately $12.2 million

in F&A cost recovery on an annual basis.

        14.    If contrary to what Boston University has negotiated with the federal

government    the F&A cost rate is reduced to 15%, Boston                                five-year

average F&A cost recovery for its new NSF awards would be reduced by approximately $8.7

million, from $12.2 million to approximately $3.5 million on these new proposals.

        15.




facilities.                                                                               rent BU

departments to safely, ethically, and effectively conduct their research, including Environmental




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Health & Safety, Export Control, Institutional Biosafety Committee and Research Security. Boston



protection in research by providing training, quality assurance and

Export Control office helps researchers comply with applicable export control laws and




implements and oversees our research security training and compliance program. Without the



       16.     Boston University has for decades relied on the payment of F&A costs. Until now,

we have been able to rely on the well-established process for negotiating F&A cost rates with the

government to inform our budgeting and planning. Operating budgets rely on an estimate of both

direct and F&A sponsored funding to plan for annual staffing needs, including direct costs for the

personnel directly involved in the research (principal investigators, post-docs, PhD students, and

other research staff) as well as F&A costs, such as infrastructure support for IT networks, libraries,

maintenance of research labs and other facilities, as well as regulatory compliance and grant

management support, and facility and equipment purchases. This multi-year budgeting process

also assumes the availability or possibility of grant renewals at roughly similar terms           and

certainly at the negotiated F&A cost rate as had been previously available.

       17.     Nor can Boston University cover the funding gap itself. While Boston University

maintains an endowment, BU cannot use endowment funds to offset shortfalls in F&A cost

recovery, for several reasons

provides approximately 4% to 5% of BU                                               most of Boston

                                                             -restricted purposes, such as student




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scholarships, faculty positions, and specific initiatives, and BU is legally obligated to use the funds

for these purposes. Boston University is not authorized to use these donor-restricted funds to cover

its administrative and facilities-related costs.

        18.     Moreover, absorbing the cost of a lower F&A cost rate, even if it were possible,

would create long-term budget pressures on Boston University              which would in turn force

reductions in key investments supporting BU            faculty, students, staff, research, and teaching

infrastructure, as well as other critical activities needed to maintain                      academic

excellence.

        I declare under penalty of perjury that the foregoing is true and correct.

                Executed on this 5th day of May, 2025, at Boston, Massachusetts.


                                                         /s/ Thomas Bifano




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